Case 20-43597         Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                     Main Document
                                                 Pg 1 of 32

                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                   SOUTHEASTERN DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :       Chapter 11
                                                              :
 BRIGGS & STRATTON                                            :       Case No. 20–43597-399
 CORPORATION, et al.,                                         :
                                                              :       (Jointly Administered)
                   Debtors.                                   :
                                                              :       Obj. Deadline: March 31, 2021 at 4:00 p.m. (CT)
                                                              :       Hearing Date: April 14, 2021 at 9:00 a.m. (CT)
                                                              :       Hearing Location: Courtroom 5 North
 ------------------------------------------------------------ x

              SUMMARY SHEET OF SECOND INTERIM AND FINAL FEE
        APPLICATION OF WEIL, GOTSHAL & MANGES LLP FOR ALLOWANCE
         AND PAYMENT OF COMPENSATION FOR PROFESSIONAL SERVICES
      RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
     TO THE DEBTORS FOR THE PERIOD JULY 20, 2020 THROUGH JANUARY 6, 2021

 Name of Applicant:                                         Weil, Gotshal & Manges LLP
 Authorized to Provide Professional Services to:            Debtors and Debtors in Possession
                                               August 19, 2020 (provisionally retained as of
 Date of Retention:
                                               July 20, 2020)
                              Second Interim Compensation Period
 Period for which Compensation and Expense
                                               November 1, 2020 through January 6, 2021
 Reimbursement are Sought in this Application:
 Total Amount of Compensation and Expense
 Reimbursement Sought to be Allowed in this $2,690,368.77
 Application:
 Total Amount of Compensation Sought to be
                                               $2,682,719.00 1
 Allowed in this Application:

 Total Amount of Expense Reimbursement
                                           $7,649.77
 Sought to be Allowed in this Application:

                                         Final Compensation Period

 1
          Due to an inadvertent error in a previous monthly fee statement sent to the Debtors, Weil billed for an
 associate’s time at an incorrect hourly rate resulting in an overcharge of $15,404.00 in fees. Accordingly, Weil
 provided the Debtors a credit by decreasing its fees sought by this same amount in its Sixth Monthly Fee Statement.
 Instead of $1,369,328.50 in monthly fees incurred in December, Weil has sought reimbursement for $1,353,924.50.
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56       Main Document
                                             Pg 2 of 32

 Period for which Compensation and Expense
                                               July 20, 2020 through January 6, 2021
 Reimbursement are Sought in this Application:
 Total Amount of Compensation and Expense
 Reimbursement Sought to be Allowed in this $11,234,545.09
 Application:
 Total Amount of Compensation Sought to be
                                               $11,220,438.50
 Allowed in this Application:
 Total Amount of Expense Reimbursement
                                           $14,106.59
 Sought to be Allowed in this Application:
                                        Other Information
 Compensation Sought in this Application and
                                                 $2,146,175.20
 Already Paid But Not Yet Allowed:
 Expense Reimbursement Sought in this
 Application and Already Paid But Not Yet $7,649.77
 Allowed:
 Blended Rate in this Application for Attorneys: $946.19
 Blended Rate in this Application for All
                                                 $345.21
 Paraprofessionals:
 Blended Rate in this Application for All
                                                 $919.89
 Timekeepers:
 Number of Professionals Included in this
                                                 77
 Application:
 Number of Professionals Billing Fewer than 15
                                                 21
 Hours to the Case During this Period:
                                                 Yes. The amount of compensation attributable
 Are Any Rates Higher than those Approved or to the rate increase effective as of January 1,
 Disclosed at Retention? If yes, Calculate the 2021 is $5,400.
 Amount of Compensation Attributable to Any
 Rate Increase:

                  This is a(n):     monthly   X interim X    final application




                                                2
Case 20-43597          Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                      Main Document
                                                  Pg 3 of 32

                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :         Chapter 11
                                                              :
 BRIGGS & STRATTON                                            :         Case No. 20–43597-399
 CORPORATION, et al.,                                         :
                                                              :         (Jointly Administered)
                   Debtors.                                   :
                                                              :         Obj. Deadline: March 31, 2021 at 4:00 p.m. (CT)
                                                              :         Hearing Date: April 14, 2021 at 9:00 a.m. (CT)
                                                              :         Hearing Location: Courtroom 5 North
 ------------------------------------------------------------ x

               SECOND INTERIM AND FINAL FEE APPLICATION OF
              WEIL, GOTSHAL & MANGES LLP FOR ALLOWANCE AND
           PAYMENT OF COMPENSATION FOR PROFESSIONAL SERVICES
      RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
     TO THE DEBTORS FOR THE PERIOD JULY 20, 2020 THROUGH JANUARY 6, 2021

           Weil, Gotshal & Manges LLP (“Weil”) 1 hereby submits its Second Interim and Final Fee

     Application for Allowance and Payment of Compensation for Professional Services Rendered and

     Reimbursement of Expenses Incurred as Counsel to the Debtors for the Period from July 20, 2020

     through January 6, 2021 (the “Application”), pursuant to sections 330(a) and 331 of title 11 of

     the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy

     Procedure (the “Bankruptcy Rules”), Rules 2016-1 and 2016-2 of the Local Rules of Bankruptcy

     Procedure for the Eastern District of Missouri (the “Local Rules”), and the Guidelines for

     Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

     U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, Effective as of November 1, 2013 (the

     “Fee Guidelines”), for entry of an order for final allowance of compensation in the amount of

     $11,220,438.50 for professional services performed for the above-captioned debtors (the


 1
           Capitalized terms used in this Application, but not defined herein, shall have the meanings ascribed to such
           terms in the Second Amended Plan or the Confirmation Order (each as defined below), as applicable.
Case 20-43597         Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                    Main Document
                                                 Pg 4 of 32

     “Debtors”) and reimbursement of actual and necessary expenses incurred in the amount of

     $14,106.59 inclusive of (i) fees in the amount of $8,537,719.50 and expenses incurred in the

     amount of $6,456.82 during the period commencing July 20, 2020 through October 31, 2020 (the

     “First Interim Compensation Period”) and (ii) fees in the amount of $2,682,719.00 and

     expenses incurred in the amount of $7,649.77 during the period commencing November 1, 2020

     through January 6, 2021 (the “Second Interim Compensation Period” and, together with the

     First Interim Compensation Period, the “Final Compensation Period”). In support of this

     Application, Weil respectfully represents as follows:


                                            Preliminary Statement


           1.      On December 18, 2020, the Court entered an order [Docket No. 1485] (the

 “Confirmation Order”) confirming the Second Amended Joint Chapter 11 Plan of Briggs &

 Stratton Corporation and Its Affiliated Debtors [Docket No. 1434] (the “Second Amended

 Plan”). The Second Amended Plan became effective on January 6, 2021 [Docket No. 1538]. In

 accordance with the Second Amended Plan, and the Confirmation Order, this Application seeks

 approval of compensation and reimbursement of amounts incurred by Weil as counsel to the

 Debtors for the Second Interim Compensation Period and the Final Compensation Period.

           2.      The Debtors’ chapter 11 cases have been complex and demanding – comprised of

 a robust sale process in the middle of a global pandemic, hard-fought negotiations with key

 stakeholders culminating in the Global Settlement, 2 and an incredibly successful and primarily

 consensual chapter 11 plan process. Weil’s guidance and leadership at each stage of these chapter

 11 cases were critical to effectuating the Sale Transaction (as defined below), preserving jobs,


 2
         As defined in the Order (I) Authorizing the Sale of the Asserts and Equity Interests to the Purchaser Free
 and Clear of Liens, Claims, Interests, and Encumbrances; (II) Authorizing the Assumption and Assignment of
 Certain Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket No. 898] (the “Sale
 Order”).



                                                          2
Case 20-43597        Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56                   Main Document
                                               Pg 5 of 32

 confirming the Second Amended Plan, and maximizing value for creditors, all in a timeframe of

 just over five months.

         3.       The Debtors commenced these chapter 11 cases with a stalking horse bid from the

 Purchaser (as defined below) after a robust, months-long marketing process conducted by the

 Debtors and their advisors in pursuit of the most beneficial solution for the Debtors’ stakeholders.

 With the assistance of the Debtors’ other professional advisors, Weil secured a guaranteed

 purchase price of $550 million (subject to adjustment) plus assumed liabilities for the Debtors’

 business on a going concern basis.

         4.       Following the commencement of these chapter 11 cases, Weil engaged in extensive

 negotiations and participated in contested evidentiary hearings to secure debtor-in-possession

 financing for the Debtors on a final basis.                The evidentiary hearings required significant

 preparation for in-court testimony. If not for Weil’s significant efforts, the Debtors would not have

 been able to access the necessary liquidity to manage their operations on a continuing basis and

 achieve the going concern Sale Transaction (as defined below).

         5.       Weil also expended extensive and continuous efforts in establishing the Debtors’

 Bidding Procedures (as defined below). Winning court approval for the Bidding Procedures (as

 defined below) over the objections filed by various parties (including the Ad Hoc Group 3 and the

 Creditors’ Committee) and on an abbreviated timetable required intensive, virtually around-the-

 clock efforts from Weil’s attorneys. Although the Debtors did not receive a higher or better bid

 than the stalking horse bid, the Debtors still achieved a substantial purchase price for their assets




 3
          As defined in the Preliminary Objection of Ad Hoc Group of Senior Noteholders to Motion of Debtors for
 Entry of an Order (I) Approving (A) Bidding Procedures, (B) Designation of Stalking Horse Bidder and Stalking
 Horse Bid Protections, (C) Scheduling Auction and Sale Hearing, (D) Form and Manner of Notice of Sale, Auction,
 and Hearing, and (E) Assumption and Assignment Procedures; (II) Authorizing (A) Sale of Debtors' Assets and
 Equity Interest Free and Clear of Liens, Claims, Interests, and Encumbrances and (B) Assumption and Assignment
 of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket No. 300].



                                                        3
Case 20-43597        Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                    Main Document
                                                Pg 6 of 32

 on a going concern basis, allowing the Debtors to maximize recoveries for all creditors, while also

 preserving jobs.

         6.       In the weeks leading to the hearing to approve the Sale Transaction (as defined

 below), Weil led extensive negotiations on behalf of the Debtors with the Creditors’ Committee

 (as defined below), the Pension Guaranty Benefit Corporation (the “PBGC”), the DIP Agent 4 and

 DIP Lenders, 5 and the Purchaser (as defined below), which culminated in the Global Settlement.

 As the Court is aware, the Global Settlement ensured the support of the Debtors’ key stakeholders

 for the Sale Transaction (as defined below) and throughout the balance of these chapter 11 cases

 – indeed, only a small group of creditors objected to the Amended Disclosure Statement for

 Amended Joint Chapter 11 Plan of Briggs & Stratton Corporation and Its Affiliated Debtors

 [Docket No. 1227] (the “Amended Disclosure Statement”), and only four (4) objections to the

 Second Amended Plan were filed by creditors, all of which were resolved consensually prior to

 the confirmation hearing on December 18, 2020. The remaining objections were filed by the

 United States Trustee and the United States Securities and Exchange Commission.

         7.       The professional services performed and expenses incurred by Weil were actual

 and necessary to preserve and protect the value of the Debtors’ estates. Weil assisted the Debtors

 in achieving a going-concern, value-maximizing Sale Transaction (as defined below) and

 obtaining approval of a consensual chapter 11 plan, which set the Debtors up for an efficient and

 equitable process of winding down the Debtors’ remaining assets and distributing the proceeds to

 creditors. Given the circumstances of these chapter 11 cases, the efficiency with which they were

 administered, and the successful outcome for the Debtors and their stakeholders, Weil’s charges



 4
          As defined in the Final Order (I) Authorizing Debtors to Obtain Postpetition Financing, (II) Authorizing
 Debtors to Use Cash Collateral, (III) Granting Liens and Superpriority Claims, (IV) Granting Adequate Protection
 to Prepetition Secured Parties, and (V) Modifying Automatic Stay [Docket No. 526] (the “Final DIP Order”).
 5
         As defined in the Final DIP Order.



                                                         4
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56            Main Document
                                           Pg 7 of 32

 for professional services performed and expenses incurred are reasonable and appropriate under

 the applicable standards. Weil respectfully requests that the Court grant the Application.

                                            Jurisdiction

          8.    The United States Bankruptcy Court for the Eastern District of Missouri

 (the “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157, 1334 and Local

 Rule 1001 (D). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper

 before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Background

          9.    On July 20, 2020 (the “Petition Date”), the Debtors each commenced with this

 Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to

 continue to operate their business and manage their properties as debtors in possession pursuant to

 sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’ chapter 11 cases are being

 jointly administered for procedural purposes only pursuant to Rule 1015(b) of the Bankruptcy

 Rules and Rule 1015(b) of the Local Rules.

          10.   On August 5, 2020, the United States Trustee appointed an official committee of

 unsecured creditors (the “Creditors’ Committee”) in these chapter 11 cases pursuant to section

 1102 of the Bankruptcy Code. No trustee or examiner has been appointed in these chapter 11

 cases.




                                                 5
Case 20-43597       Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                      Main Document
                                               Pg 8 of 32

        11.      On the Petition Date, the Debtors filed their Bidding Procedures Motion. 6 On

 August 19, 2020, the Court entered the Bidding Procedures Order, 7 which, among other things,

 (a) approved bidding procedures in connection with the sale of the Debtors’ assets, (b) approved

 the designation of a stalking horse bidder and stalking horse bid, (c) scheduled an auction to take

 place on September 1, 2020, and (d) scheduled a sale hearing for September 15, 2020. On

 September 15, 2020, the Court entered the Sale Order authorizing the Debtors to sell substantially

 all of their assets (the “Sale Transaction”) to Bucephalus Buyer, LLC (the “Purchaser”). On

 September 21, 2020, the Debtors closed the Sale Transaction. 8

        12.      Following the successful sale of substantially all of their assets, the Debtors focused

 their efforts and resources on developing and filing a workable and confirmable chapter 11 plan

 of liquidation supported by the Creditors’ Committee. On October 9, 2020, the Debtors filed the

 Joint Chapter 11 Plan of Briggs & Stratton Corporation and Its Affiliated Debtors [Docket No.

 1066] and the Disclosure Statement for Joint Chapter 11 Plan of Briggs & Stratton Corporation

 and Its Affiliated Debtors [Docket No. 1067] (together with the Amended Disclosure Statement,

 the “Disclosure Statement”). On November 9, 2020, the Debtors filed the Amended Joint Chapter

 11 Plan of Briggs & Stratton Corporation and Its Affiliated Debtors (the “Amended Plan” and,

 together with the Second Amended Plan, the “Plan”) [Docket No. 1226] and the Amended


 6
        Motion of Debtors for Entry of an Order (I) Approving (A) Bidding Procedures, (B) Designation of Stalking
        Horse Bidder and Stalking Horse Bid Protections, (C) Scheduling Auction and Sale Hearing, (D) Form and
        Manner of Notice of Sale, Auction, and Sale Hearing, and (E) Assumption and Assignment Procedures;
        (II) Authorizing (A) Sale of Debtors’ Asserts and Equity Interests Free and Clear of Liens Claims, Interests,
        and Encumbrances and (B) Assumption and Assignment of Executory Contracts and Unexpired Leases; and
        (III) Granting Related Relief [Docket No. 53] (the “Bidding Procedures Motion”).
 7
        Order (I) Approving (A) Bidding Procedures, (B) Designation of Stalking Horse Bidder and Stalking Horse
        Bid Protections, (C) Scheduling Auction and Sale Hearing, (D) Form and Manner of Notice of Sale, Auction,
        and Sale Hearing, and (E) Assumption and Assignment Procedures and Form and Manner of Notice of
        Assumption and Assignment and (II) Granting Related Relief (Docket No. 505) (the “Bidding Procedures
        Order”).
 8
        See Notice of (I) Filing of Amendment to Stock and Asset Purchase Agreement, And (II) the Occurrence of
        Closing of the Sale Transaction [Docket No. 964].



                                                         6
Case 20-43597      Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                  Main Document
                                              Pg 9 of 32

 Disclosure Statement. On November 10, 2020, the Court entered an order approving the Amended

 Disclosure Statement and scheduled the hearing for confirmation of the Amended Plan for

 December 18, 2020. 9 On December 16, 2020, the Debtors filed the Second Amended Plan [Docket

 No. 1434].

        13.     On December 18, 2020, the Court entered the Confirmation Order confirming the

 Second Amended Plan [Docket No. 1485]. The effective date of the Second Amended Plan (the

 “Effective Date”) occurred on January 6, 2021 [Docket No. 1538]. On the Effective Date, Alan

 D. Halperin was appointed as Plan Administrator 10 to implement the Plan and effectuate the

 winding down of the Debtors’ estates.

        14.     Additional information regarding the Debtors’ business and capital structure and

 the circumstances leading to the commencement of these chapter 11 cases is set forth in the (i)

 Declaration of Jeffrey Ficks, Financial Advisor of Briggs & Stratton Corporation, in Support of

 the Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 51] and (ii) the Amended

 Disclosure Statement.

                                    The Debtors’ Retention of Weil

        15.     On July 20, 2020, Weil filed the Application of Debtors Pursuant to 11 U.S.C. §

 327(a) Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014 and 2016-1 for Authority to

 Retain and Employ Weil, Gotshal & Manges LLP as Attorneys for the Debtors Effective as of the

 Petition Date [Docket No. 28] (the “Retention Application”). The Court approved the Retention

 Application on a provisional basis on July 20, 2020 [Docket No. 73] and on a final basis by Order



 9
        See Order (I) Approving Disclosure Statement; (II) Establishing Notice and Objection Procedures for
        Confirmation of Plan; (III) Approving Solicitation Packages and Procedures for Distribution Thereof;
        (IV) Approving the Form of Ballots and Establishing Procedures for Voting on the Plan; and (V) Granting
        Related Relief [Docket No. 1233].
 10
        As defined in the Second Amended Plan.



                                                      7
Case 20-43597        Doc 1638   Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                          Pg 10 of 32

 dated August 19, 2020 [Docket No. 511] (the “Retention Order”).              The Retention Order

 authorizes the Debtors to compensate and reimburse Weil in accordance with the Bankruptcy

 Code, the Bankruptcy Rules, and the Fee Guidelines. The Retention Order also authorizes the

 Debtors to compensate Weil for services rendered and to reimburse Weil for its reasonable and

 necessary expenses incurred at Weil’s normal hourly rates and disbursement policies, subject to

 application to this Court. The Retention Order authorizes Weil to, among other things:

                a.      prepare on behalf of the Debtors, as debtors in possession, all necessary
                        motions, applications, answers, orders, reports and other papers in
                        connection with the administration of the Debtors’ estates;

                b.      take all necessary actions in connection with any chapter 11 plan and related
                        disclosure statement and all related documents, and such further actions as
                        may be required in connection with the administration of the Debtors’
                        estates;

                c.      take all necessary action to protect and preserve the Debtors’ estates,
                        including the prosecution of actions on the Debtors’ behalf, the defense of
                        any actions commenced against the Debtors, the negotiation of disputes in
                        which the Debtors are involved, and the preparation of objections to claims
                        filed against the Debtors’ estates; and

                d.      perform all other necessary legal services in connection with the
                        prosecution of these chapter 11 cases; provided, however, that to the extent
                        Weil determines that such services fall outside of the scope of services
                        historically or generally performed by Weil as lead debtors’ counsel in a
                        bankruptcy case, Weil will file a supplemental declaration.


                           Summary of Professional Compensation
                          and Reimbursement of Expenses Requested

        16.     On September 25, 2020, Weil submitted its first monthly fee statement (the “First

 Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for professional

 services rendered in the amount of $1,246,859.70 for the total amount of fees and actual and

 necessary expenses incurred on behalf of the Debtors for the period of July 20, 2020 through and

 including July 31, 2020; (ii) payment in the amount of $997,062.00, which is equal to 80% of the

 total compensation ($1,246,327.50) sought for professional services rendered to the Debtors



                                                  8
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56           Main Document
                                          Pg 11 of 32

 during the period; and (iii) reimbursement for expenses incurred in connection with the rendition

 of such services in the amount of $532.20. No objections were received with respect to the First

 Monthly Fee Statement.

        17.     On October 7, 2020, Weil submitted its second monthly fee statement (the “Second

 Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for professional

 services rendered in the amount of $3,077,463.50 for the total amount of fees and actual and

 necessary expenses incurred on behalf of the Debtors for the period of August 1, 2020 through and

 including August 31, 2020; (ii) payment in the amount of $2,460,321.60, which is equal to 80%

 of the total compensation ($3,075,402.00) sought for professional services rendered to the Debtors

 during the period; and (iii) reimbursement for expenses incurred in connection with the rendition

 of such services in the amount of $2,061.05. No objections were received with respect to the

 Second Monthly Fee Statement.

        18.     On November 12, 2020, Weil submitted its third monthly fee statement (the “Third

 Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for professional

 services rendered in the amount of $2,854,229.50 for the total amount of fees and actual and

 necessary expenses incurred on behalf of the Debtors for the period of September 1, 2020 through

 and including September 30, 2020; (ii) payment in the amount of $2,282,977.20, which is equal to

 80% of the total compensation ($2,853,721.50) sought for professional services rendered to the

 Debtors during the period; and (iii) reimbursement for expenses incurred in connection with the

 rendition of such services in the amount of $508.00. No objections were received with respect to

 the Third Monthly Fee Statement.

        19.     On December 1, 2020, Weil submitted its fourth monthly fee statement

 (the “Fourth Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for

 professional services rendered in the amount of $1,365,624.07 for the total amount of fees and

 actual and necessary expenses incurred on behalf of the Debtors for the period of October 1, 2020


                                                 9
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56           Main Document
                                          Pg 12 of 32

 through and including October 31, 2020; (ii) payment in the amount of $1,089,814.80, which is

 equal to 80% of the total compensation ($1,362,268.50) sought for professional services rendered

 to the Debtors during the period; and (iii) reimbursement for expenses incurred in connection with

 the rendition of such services in the amount of $3,355.57. No objections were received with

 respect to the Fourth Monthly Fee Statement.

        20.     On December 18, 2020, Weil submitted its first interim fee application (the “First

 Interim Fee Application”) seeking interim allowance of $8,537,719.50 in compensation for

 professional services rendered and $6,456.82 in reimbursement for actual and necessary expenses

 incurred on behalf of the Debtors during the First Interim Compensation Period, which covered

 the period commencing July 20, 2020 through October 31, 2020. No objections were received

 with respect to the First Interim Fee Application. The Court entered an order approving the First

 Interim Fee Application on January 22, 2021 [Docket No. 1586].

        21.     On January 5, 2021, Weil submitted its fifth monthly fee statement (the “Fifth

 Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for professional

 services rendered in the amount of $1,243,111.58 for the total amount of fees and actual and

 necessary expenses incurred on behalf of the Debtors for the period of November 1, 2020 through

 and including November 30, 2020; (ii) payment in the amount of $990,820.40, which is equal to

 80% of the total compensation ($1,238,525.50) sought for professional services rendered to the

 Debtors during the period; and (iii) reimbursement for expenses incurred in connection with the

 rendition of such services in the amount of $4,586.08. No objections were received with respect

 to the Fifth Monthly Fee Statement. Weil’s fees and expenses from the Fifth Monthly Fee

 Statement are annexed hereto as Exhibit I.

        22.     On February 2, 2021, Weil submitted its sixth monthly fee statement (the “Sixth

 Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation for professional

 services rendered in the amount of $1,354,902.24 for the total amount of fees and actual and


                                                10
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56          Main Document
                                          Pg 13 of 32

 necessary expenses incurred on behalf of the Debtors for the period of December 1, 2020 through

 and including December 31, 2020; (ii) payment in the amount of $1,083,139.60, which is equal to

 80% of the total compensation ($1,353,924.50) sought for professional services rendered to the

 Debtors during the period; and (iii) reimbursement for expenses incurred in connection with the

 rendition of such services in the amount of $977.74. No objections were received with respect to

 the Sixth Monthly Fee Statement. Weil’s fees and expenses from the Sixth Monthly Fee Statement

 are annexed hereto as Exhibit J.

        23.     On February 17, 2021, Weil submitted its seventh monthly fee statement

 (the “Seventh Monthly Fee Statement”) seeking (i) interim allowance of Weil’s compensation

 for professional services rendered in the amount of $92,354.95 for the total amount of fees and

 actual and necessary expenses incurred on behalf of the Debtors for the period of January 1, 2021

 through and including January 6, 2021; (ii) payment in the amount of $72,215.20, which is equal

 to 80% of the total compensation ($90,269.00) sought for professional services rendered to the

 Debtors during the period; and (iii) reimbursement for expenses incurred in connection with the

 rendition of such services in the amount of $2,085.95. No objections were received with respect

 to the Seventh Monthly Fee Statement. Weil’s fees and expenses from the Seventh Monthly Fee

 Statement are annexed hereto as Exhibit K.

        24.     Weil seeks allowance of compensation for professional services performed during

 the Second Interim Compensation Period (covering the period commencing November 1, 2020

 through January 6, 2021) in the amount of $2,682,719.00 and during the Final Compensation

 Period in the amount of $11,220,438.50. Weil also seeks reimbursement of expenses incurred in

 connection with the rendition of such services in the Second Interim Compensation Period in the

 amount of $7,649.77 and during the Final Compensation Period in the amount of $14,106.59.

 During the Second Interim Compensation Period, Weil attorneys and paraprofessionals expended

 a total of 2,980.50 hours in connection with the necessary services performed. During the Final


                                                11
Case 20-43597      Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                           Pg 14 of 32

 Compensation Period, Weil attorneys, paraprofessionals and other non-legal staff expended a total

 of 12,197.60 hours in connection with the necessary services performed.

        25.     There is no agreement or understanding between Weil and any other person, other

 than members of the firm, for the sharing of compensation to be received for services rendered in

 these chapter 11 cases. During the Final Compensation Period, Weil received no payment or

 promises of payment from any source for services rendered or to be rendered in any capacity

 whatsoever in connection with the matters covered by this Application.

        26.     Prior to the Petition Date, the Debtors paid Weil certain amounts as fee advances

 for professional services to be performed and expenses to be incurred in connection with its

 representation of the Debtors and in preparation of the Debtors seeking relief under chapter 11.

 Based on a reconciliation of all charges and expenses through the date of this Application, the

 balance of the advances as of the date of this Application is $0.00. Pursuant to the Retention Order,

 Weil applied the entirety of its prepetition advances against the first monthly invoice.

        27.     The fees charged by Weil in these cases are billed in accordance with Weil’s

 existing billing rates and procedures in effect during the applicable compensation periods. The

 rates Weil charges for the services rendered by its professionals and paraprofessionals in these

 chapter 11 cases generally are the same rates Weil charges for professional and paraprofessional

 services rendered in comparable bankruptcy and non-bankruptcy related matters. Such fees are

 reasonable based on the customary compensation charged by comparably skilled practitioners in

 comparable bankruptcy and non-bankruptcy cases in a competitive national legal market.

                                      Supporting Documents

        28.     Attached hereto as Exhibit A is the Declaration of Ronit J. Berkovich regarding

 Weil’s compliance with the Fee Guidelines.




                                                  12
Case 20-43597      Doc 1638     Filed 03/05/21 Entered 03/05/21 23:59:56           Main Document
                                          Pg 15 of 32

        29.     Attached hereto as Exhibit B is a summary of Weil’s monthly fee statements during

 the Final Compensation Period.

        30.     Attached hereto as Exhibit C is a schedule of all Weil attorneys, paraprofessionals

 and other non-legal staff who have performed services for the Debtors during the Second Interim

 Compensation Period and the Final Compensation Period, respectively, the capacities in which

 each individual is employed by Weil, the department in which each individual practices, the hourly

 billing rate charged by Weil for services performed by such individuals, the year in which each

 attorney was first licensed to practice law, where applicable, and the aggregate number of hours

 expended in this matter and fees billed in connection therewith.

        31.     Weil maintains computerized records of the time spent by all Weil attorneys and

 paraprofessionals in connection with the prosecution of these chapter 11 cases. Attached hereto

 as Exhibit D is a schedule of Weil’s computerized time records billed during the Second Interim

 Compensation Period using project categories hereinafter described in the format specified by the

 Fee Guidelines.

        32.     Attached hereto as Exhibit E is an itemized schedule of the expenses during the

 Second Interim Compensation Period and the Final Compensation Period, respectively, for which

 Weil is seeking reimbursement and a summary specifying the categories of expenses included in

 the schedule and the total amount for each such expense category.

        33.     Attached hereto as Exhibit F is a summary and comparison of the aggregate

 blended hourly rates billed by Weil’s domestic offices timekeepers to non-bankruptcy matters

 during the prior twelve-month period ending January 31, 2021, and the blended hourly rates billed

 to the Debtors during the Second Interim Compensation Period.

        34.     Attached hereto as Exhibit G is a budget prepared in connection with Weil’s

 representation of the Debtors during the Second Interim Compensation Period.




                                                13
Case 20-43597      Doc 1638     Filed 03/05/21 Entered 03/05/21 23:59:56            Main Document
                                          Pg 16 of 32

        35.     Attached hereto as Exhibit H is a summary of Weil’s staffing plan for the Second

 Interim Compensation Period.

        36.     To the extent that time or disbursement charges for services rendered or

 disbursements incurred relate to the Second Interim Compensation Period and the Final

 Compensation Period, but were not processed prior to the preparation of this Application, Weil

 reserves the right to request additional compensation for such services and reimbursement of such

 expenses in a future application to the Court.

                             Summary of Services Performed by
                     Weil During the Second Interim Compensation Period

        37.     During the Second Interim Compensation Period, Weil devoted substantial

 resources and rendered significant professional services to negotiate, draft, and confirm a chapter

 11 plan. The following is a summary of the significant professional services rendered by Weil

 during the Second Interim Compensation Period, organized in accordance with Weil’s internal

 time-tracking system, and broken down by project or task codes:

        a.      Administrative Expense Claims (Task Code 001)
                Fees: $93,700.00; Total Hours: 100.50

                        •      Reviewed applications for payment of administrative expense
                               claims and drafted responses and objections thereto.

                        •      Communicated and negotiated with claimants’ counsel to resolve
                               applications for payment of administrative expense claims.

                        •      Drafted, revised, and finalized stipulations resolving applications
                               for payment of administrative expense claims.

        b.      Asset Disposition/363 Asset Sales (Task Code 003)
                Fees: $49,785.50; Total Hours: 52.30

                        •      Attend to numerous post-closing issues arising from the Sale
                               Transaction, including working capital adjustment, organizational
                               document amendments, accounts receivable allocation, and
                               severance adjustment.




                                                  14
Case 20-43597     Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56                  Main Document
                                           Pg 17 of 32

                       •        Obtained approval of a motion to establish procedures for de
                                minimis asset sales and purchases, 11 and advised the Debtors with
                                respect to the sale of certain de minimis assets pursuant to such
                                procedures, including filing notices with respect to the same.

       c.       Automatic Stay (Task Code 004)
                Fees: $96,407.50; Total Hours: 95.80

                       •        Reviewed and analyzed motions to lift the automatic stay.

                       •        Drafted, revised, and finalized objections to motions for relief from
                                the automatic stay.

                       •        Conferred with counsel for moving parties to negotiate stipulations
                                in resolution of the motions to lift the automatic stay.

                       •        Drafted, revised, and finalized stipulations resolving motions to lift
                                the automatic stay.

                       •        Reviewed and revised proposed order lifting the automatic stay.

       d.       Bar Date Motion and Claims Issues (Task Code 005)
                Fees: $191,044.50; Total Hours: 219.50

                       •        Conferred with the Debtors and their advisors on the claims process
                                and related matters, and advised the Debtors in connection
                                therewith.

                       •        Analyzed filed claims, conferred with the Debtors and the Debtors’
                                advisors regarding the claims reconciliation process, and advised the
                                Debtors in connection therewith.

                       •        Negotiated with counsel to various parties that filed proofs of claim
                                to resolve such claims.

                       •        Drafted, revised, and finalized fourteen objections to claims on
                                grounds of wrong debtor, amended or superseded claims, and no
                                liability. 12




 11
       Motion of Debtors for Order (I) Authorizing Use, Sale, or Lease of Certain Property of the Estate,
       (II) Establishing Procedures for De Minimis Asset Sales, and (III) Granting Related Relief [Docket No.
       1124].
 12
       See Docket Nos. 1265 – 1278.



                                                    15
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                  Main Document
                                            Pg 18 of 32

       e.       Case Administration (Task Code 006)
                Fees: $47,110.00; Total Hours: 71.60

                        •       Prepared and maintained case calendars and comprehensive work-
                                in-process list for use by the Debtors, the Debtors’ other
                                professionals, and the Weil team.

                        •       Reviewed newly filed pleadings on the docket and summarized
                                same for the Weil team and the Debtors.

       f.       Chapter 11 Plan/Confirmation/Implementation/Plan Supplement (Task Code 007)
                Fees: $875,332.50; Total Hours: 977.80

                        •       Drafted, revised, and finalized the Plan and the information and
                                documents to be included in the supplement to the Plan (“the Plan
                                Supplement”). 13

                        •       Coordinated with the Debtors, the Debtors’ other advisors, and
                                various Weil practice groups regarding amendments to the Plan and
                                the Plan Supplement.

                        •       Reviewed various formal and informal objection to the Plan, and
                                conferred with counsel for objecting parties to resolve the same.

                        •       Conducted research regarding various potential chapter 11 issues in
                                connection with the Second Amended Plan, including issues relating
                                to the confirmation and implementation of the Second Amended
                                Plan.

                        •       Drafted, revised, and finalized the Memorandum of Law in Support
                                of Confirmation of Second Amended Joint Chapter 11 Plan of
                                Briggs & Stratton Corporation and Its Affiliated Debtors and
                                Response to Objections to Confirmation [Docket No. 1445] and
                                related filings in support of confirmation.

                        •       Drafted, revised, and finalized several documents, including the
                                proposed Confirmation Order, in preparation for the confirmation
                                hearing on the Second Amended Plan and the Debtors’ emergence
                                from chapter 11.

                        •       Advised the Debtors, in consultation and coordination with the
                                Debtors’ other advisors, Weil practice groups, and the Plan
                                Administrator and his counsel, regarding the implementation of the
                                Second Amended Plan.



 13
       Notice of Filing of Plan Supplement in Connection with Amended Joint Chapter 11 Plan of Briggs &
       Stratton Corporation and Its Affiliated Debtors [Docket No. 1369]



                                                    16
Case 20-43597      Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56                    Main Document
                                            Pg 19 of 32

                        •        Conferred with and prepared reference materials for the Plan
                                 Administrator to facilitate the transition of post-Effective Date work
                                 streams.

       g.       Corporate Governance/Securities (Task Code 008)
                Fees: $92,546.00; Total Hours: 86.30

                        •        Drafted, revised, and filed form filings with the Securities and
                                 Exchange Commission, including form 4, 8-K, S-8, and 15 filings,
                                 to provide update on bankruptcy related events, and conducted
                                 research regarding the same.

                        •        Drafted, revised, and finalized materials in preparation for meetings
                                 of the Debtors’ board of directors and participated in the same.

                        •        Prepared response to inquiry from the Financial Industry Regulatory
                                 Authority regarding the Plan.

       h.       Customer/Vendor Issues and Reclamation/503(b)(9) Claims (Task Code 009)
                Fees: $10,048.50; Total Hours: 10.10

                        •        Attended to various vendor-related matters, including
                                 corresponding with vendors regarding the status of their claims and
                                 providing matrices of critical vendor payments to certain parties in
                                 interest pursuant to the Critical Vendor Order. 14

       i.       DIP Financing/Cash Management (Task Code 010)
                Fees: $17,873.00; Total Hours: 19.80

                        •        Conferred with the Debtors regarding their cash management
                                 system and advised the Debtors in connection therewith.

                        •        Reviewed payoff documents in connection with the termination of
                                 debtor-in-possession financing and the release of liens.

       j.       Disclosure Statement/Solicitation/Voting (Task Code 011)
                Fees: $195,386.00; Total Hours: 217.20

                        •        Drafted, negotiated, revised, and finalized the Disclosure Statement.

                        •        Reviewed various formal and informal objection to the Disclosure
                                 Statement, conducted research in connection therewith, and
                                 conferred with counsel for objecting parties to resolve the same.



 14
       Final Order (I) Authorizing Debtors to Pay Prepetition Obligations in the Ordinary Course of Business to
       (A) Critical Vendors, (B) Foreign Creditors, and (C) 503(b)(9) Claimants; and (II) Granting Related Relief
       [Docket No. 534] (the “Critical Vendor Order”).



                                                      17
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                   Main Document
                                            Pg 20 of 32

                        •       Drafted, revised, and finalized the Debtors’ Omnibus Reply to
                                Objections to Debtors’ Motion for Approval of Disclosure Statement
                                and Related Relief [Docket No. 1213] and related filings in support
                                of approval.

                        •       Drafted, revised, and finalized Order (I) Approving Disclosure
                                Statement; (II) Establishing Notice and Objection Procedures for
                                Confirmation of Plan; (III) Approving Solicitation Packages and
                                Procedures for Distribution Thereof; (IV) Approving the Form of
                                Ballots and Establishing Procedures for Voting on the Plan; and (V)
                                Granting Related Relief [Docket No. 1233].

                        •       Prepared for solicitation of the Plan, drafted materials necessary for
                                solicitation, and managed solicitation process.

                        •       Communicated with the Debtors’ claims and voting agent regarding
                                the voting process, publication of solicitation and voting, and the
                                Voting Declaration. 15

       k.       Employee Issues (Task Code 012)
                Fees: $156,559.00; Total Hours: 150.10

                        •       Conferred with the Debtors, the Debtors’ other advisors, and Weil
                                practice groups regarding various employee matters, including
                                deferred compensation, pensions, life insurance, severance,
                                workers’ compensation, employee claims, employment tax
                                deferrals, and advised the Debtors in connection therewith.

                        •       Reviewed claims filed by the PBGC and conferred with the Debtors
                                and their advisors to analyze the same.

                        •       Reviewed claims filed by employees, and drafted a memorandum to
                                filers of employee equity claims.

                        •       Coordinated and negotiated with workers’ compensation boards
                                from various states on the administration of workers’ compensation
                                claims, and prepared stipulations addressing security payments
                                regarding the same.

       l.       Executory Contracts/Leases/ (Non-Real Property Issues) (Task Code 014)
                Fees: $189,603.50; Total Hours: 204.30

                        •       Conferred with Debtors and their advisors regarding executory
                                contracts and leases and strategy for the assumption and assignment
                                of same.

 15
       Declaration of Angela M. Nguyen with Respect to the Tabulation of Votes on the Amended Joint Chapter
       11 Plan of Briggs & Stratton and its Affiliated Debtors [Docket No. 1410] (the “Voting Declaration”).



                                                     18
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                    Main Document
                                            Pg 21 of 32

                        •        Coordinated a list of contracts to be assumed and assigned with the
                                 Debtors and the Debtors’ advisors and reconciled the cure costs of
                                 the same.

                        •        Drafted, revised, and finalized notices of contracts to be assumed
                                 and assigned, and negotiated with counsel to various contract
                                 counterparties to resolve any objections thereto.

                        •        Reviewed and revised amendments to contracts the Debtors held
                                 with various parties in relation to the assumption and assignment of
                                 such contracts.

                        •        Updated exhibits to motion to reject certain executory contracts. 16

       m.       General Case Strategy (including Client/Team calls) (Task Code 015)
                Fees: $119,820.50; Total Hours: 120.80

                        •        Conferred with the Debtors and their advisors regarding case
                                 strategy, pending and upcoming matters, filings, key dates, and
                                 deadlines and advised the Debtors in connection therewith.

                        •        Conducted internal Weil team calls and meetings to discuss case
                                 strategy and case progress.

       n.       Hearing and Court Matters (Task Code 016)
                Fees: $67,924.50; Total Hours: 79.20

                        •        Prepared for and represented the Debtors at hearings, including the
                                 disclosure statement hearing, the confirmation hearing, and various
                                 omnibus hearings.

                        •        Conferred and coordinated with the Debtors and their advisors in
                                 preparation for various hearings regarding related matters and
                                 advised the Debtors in connection therewith.

       o.       Insurance Issues (Task Code 017)
                Fees: $144,425.50; Total Hours: 159.60

                        •        Conferred with the Debtors and their advisors regarding various
                                 insurance matters, including surrender of life insurance policies, and
                                 advised the Debtors in connection therewith.




 16
       Notice of Filing of Updated Exhibit to Debtors’ Motion for Order (I) Authorizing (A) Rejection of Certain
       Executory Contracts and Unexpired Leases and (B) Abandonment of Property in Connection Therewith; and
       (II) Granting Related Relief [Docket No. 1287].



                                                     19
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                   Main Document
                                            Pg 22 of 32

                        •       Drafted, revised, and finalized Motion of Debtors for Order (I)
                                Authorizing Debtors to Surrender Life Insurance Policies and (II)
                                Granting Related Relief [Docket No. 1338].

       p.       Non-Bankruptcy Litigation (Task Code 018)
                Fees: $58,129.00; Total Hours: 58.00

                        •       Conferred with the Debtors and their advisors regarding various
                                outstanding and potential litigations, including the Exmark
                                Litigation, 17 and advised the Debtors in connection therewith.

                        •       Drafted, revised, and finalized Motion of Debtors for Order
                                Authorizing and Approving Settlement Between Exmark
                                Manufacturing Company, Inc. and Debtor Briggs & Stratton
                                Corporation [Docket No. 1316].

                        •       Negotiated and revised the proposed order authorizing and
                                approving the settlement with Exmark Manufacturing Co., Inc.

                        •       Revised and finalized a memorandum in connection with internal
                                investigation of potential claims of the estate.

       q.       Real Property Leases/Real Estate Lease Issues (Task Code 020)
                Fees: $19,281.50; Total Hours: 22.90

                        •       Reviewed and revised listing agreements for various real property.

                        •       Drafted, revised, and finalized Motion of the Debtors for Authority
                                to Extend the Time to Assume or Reject Unexpired Lease of
                                Nonresidential Real Property [Docket No. 1290].

       r.       Regulatory/Environmental Issues (Task Code 021)
                Fees: $12,297.00; Total Hours: 11.10

                        •       Conferred with the Debtors and their advisors and the advisors to
                                various stakeholders regarding certain regulatory and environmental
                                matters related to the Debtors’ marketing and sale process.

       s.       Retention/Fee Application: OCPs (Task Code 022)
                Fees: $12,780.50; Total Hours: 15.50

                        •       Drafted, revised, and finalized Debtors’ First Quarterly Statement
                                Regarding Payments Made to Ordinary Course Professional for
                                Services Rendered During the Period July 20, 2020 Through
                                October 20, 2020 [Docket No. 1309].

 17
       As defined in the Motion of Debtors to Lift the Automatic Stay Solely to Permit Appeals Court to Issue a
       Ruling in the Exmark Appeal [Docket No. 549].



                                                     20
Case 20-43597     Doc 1638        Filed 03/05/21 Entered 03/05/21 23:59:56                   Main Document
                                            Pg 23 of 32

                        •       Communicated with Ordinary Course Professionals 18 to obtain
                                reasonable estimates of unpaid fee claims through the Effective
                                Date.

       t.       Retention/Fee Applications: Retained Professionals non Weil (Task Code 023)
                Fees: $64,601.00; Total Hours: 88.60

                        •       Drafted, revised, and finalized retention applications for the
                                Debtors’ professionals, including Perkins Coie LLP; Kohner, Mann
                                & Kailas, S.C.; Polsinelli PC; and CBRE Group, Inc., and conferred
                                with the respective professionals and their counsel regarding same.

                        •       Reviewed and summarized monthly fee statements submitted by
                                various professionals retained by the Debtors, the Creditors’
                                Committee, and the Debtors’ lenders.

                        •       Reviewed and coordinated the filing of the first interim fee
                                applications of the Debtors’ professionals.

                        •       Communicated with various professionals retained by the Debtors
                                and the Creditors’ Committee to obtain reasonable estimates of
                                unpaid fee claims through the Effective Date.

       u.       Retention/Fee Application: Weil (Task Code 024)
                Fees: $81,704.50; Total Hours: 120.00

                        •       Prepared Weil’s monthly fee statements, interim fee applications,
                                final fee application, and budget and staffing plans.

                        •       Drafted, revised, and finalized Weil’s supplemental retention
                                declarations.

       v.       Schedules/Statement of Financial Affairs/2015.3 Report (Task Code 025)
                Fees: $10,658.50; Total Hours: 14.60

                        •       Drafted, revised, and finalized the Debtors’ Amended Schedules of
                                Assets and Liabilities (the “Amended Schedules”) and the related
                                notice. 19

                        •       Reviewed and prepared for filing the Amended Schedules, and
                                conferred with Debtors and their advisors regarding same.




 18
       As defined in the Motion for Order Authorizing Debtors and Debtors-in-Possession to Employ Professionals
       Used in Ordinary Course of Business [Docket No. 208].
 19
       See Docket Nos. 1370 – 1373.



                                                     21
Case 20-43597         Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56                 Main Document
                                               Pg 24 of 32

           w.      Tax Issues (Task Code 027)
                   Fees: $81,219.00; Total Hours: 74.10

                           •       Conferred with the Debtors and their advisors with regard to various
                                   tax issues, including transfer tax, deferred payroll tax, future sales
                                   tax refund, and conducted research in connection therewith.

                           •       Reviewed and revised the Plan Administrator Agreement 20 with
                                   respect to tax issues and conducted related research and analysis.

           x.      US Trustee/Monthly Operating Report (Task Code 030)
                   Fees: $7,693.50; Total Hours: 7.50

                           •       Reviewed and revised monthly operating reports. 21

           38.     The professional services performed by partners, counsel, and associates of Weil

 were rendered by the Restructuring, Corporate, Litigation, and Tax, Benefits & Executive

 Compensation Departments predominantly in the New York office. Weil has a preeminent

 Restructuring practice and enjoys a national reputation for its expertise in financial reorganizations

 and restructurings of troubled entities, with approximately 100 attorneys that specialize in this area

 of law.

           39.     The professional services performed by Weil on behalf of the Debtors during the

 Second Interim Compensation Period required an aggregate expenditure of approximately

 2,980.50 hours by Weil’s partners, counsel, associates, and paraprofessionals. Of the aggregate

 time expended, approximately 683.20 recorded hours were expended by partners and counsel of

 Weil, approximately 2,159.70 recorded hours were expended by associates, and approximately

 137.60 recorded hours were expended by paraprofessionals of Weil. Of the forty (40) Weil

 attorneys who billed time, nineteen (19) billed fewer than 15 hours to this matter. Of the sixteen

 (16) Weil paraprofessionals who billed time, thirteen (13) billed fewer than 15 hours to this matter.


 20
           As defined in the Second Amended Plan.
 21
          Monthly Operating Report for Briggs & Stratton Corporation, et al. for the Period September 28, 2020
 Through October 25, 2020 [Docket No. 1313]; Monthly Operating Report for Briggs & Stratton Corporation, et al.
 for the Period October 26, 2020 Through November 22, 2020 [Docket No. 1450].



                                                       22
Case 20-43597      Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56              Main Document
                                           Pg 25 of 32

        40.      During the Second Interim Compensation Period, Weil billed the Debtors for time

 expended by attorneys based on hourly rates ranging from $595.00 to $1,695.00 per hour for

 attorneys. Allowance of compensation in the amount requested would result in a blended hourly

 billing rate for Weil attorneys in this Application of approximately $927.59 (based on 2,842.90

 recorded hours for attorneys at Weil’s agreed billing rates in effect at the time of the performance

 of services).

                          Actual and Necessary Disbursements of Weil

        41.      Weil has disbursed $7,649.77 as expenses incurred in providing professional

 services during the Second Interim Compensation Period. These expenses are reasonable and

 necessary and were essential to, among other things, timely respond to motions and objections

 filed in the Debtors’ chapter 11 cases and the overall administration of the cases.

        42.      With respect to black-and-white photocopying expenses, in compliance with the

 Fee Guidelines and Local Rule 2016-1, Weil charges all of its clients $.10 per page; for color

 copies, Weil charges $.50 per page. Each of these categories of expenses does not exceed the

 maximum rate set by the Local Rules or the “Guidelines for Compensation” set forth in the

 appendix to the Procedures Manual that accompanies the Local Rules (the “Local Guidelines”).

 These charges are intended to cover Weil’s direct operating costs, which costs are not incorporated

 into the Weil hourly billing rates. Only clients who actually use services of the types set forth in

 the summary sheet are separately charged for such services. Including such expenses as part of

 the hourly billing rates would impose that cost upon clients who do not require extensive

 photocopying and other facilities and services. The amount of the standard photocopying charge

 is intended to allow Weil to cover the related expenses of its photocopying service.              A

 determination of the actual expenses per page for photocopying, however, is dependent on both

 the volume of copies and the total expenses attributable to photocopying on an annual basis.



                                                 23
Case 20-43597      Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                           Pg 26 of 32

        43.     On certain occasions, overnight delivery of documents and other materials was

 required as a result of circumstances necessitating the use of such express services. These

 disbursements are not included in Weil’s overhead for the purpose of setting billing rates. Weil

 has made every effort to minimize its disbursements in these cases. The actual expenses incurred

 in providing professional services were absolutely necessary, reasonable, and justified under the

 circumstances to serve the needs of the Debtors and their estates and creditors.

                          Requested Compensation Should Be Allowed

        44.     Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 to govern the Court’s award

 of such compensation. 11 U.S.C. § 331. Section 330 provides that a Court may award a

 professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

 actual, necessary services rendered [and] reimbursement for actual, necessary expenses.” 11

 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation and

 reimbursement:

                In determining the amount of reasonable compensation to be
                awarded to [a] professional person, the court shall consider the
                nature, the extent, and the value of such services, taking into account
                all relevant factors, including –

                       (A)     the time spent on such services;

                       (B)     the rates charged for such services;

                       (C)      whether the services were necessary to the
                       administration of, or beneficial at the time at which the
                       service was rendered toward the completion of, a case under
                       this title;

                       (D)    whether the services were performed within a
                       reasonable amount of time commensurate with the
                       complexity, importance, and nature of the problem, issue, or
                       task addressed;




                                                  24
Case 20-43597       Doc 1638    Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                          Pg 27 of 32

                       (E)    with respect to a professional person, whether the
                       person is board certified or otherwise has demonstrated skill
                       and experience in the bankruptcy field; and

                       (F)     whether the compensation is reasonable based on the
                       customary compensation charged by comparably skilled
                       practitioners in cases other than cases under this title.

 Id. § 330(a)(3).

        45.     In addition to the factors set forth in section 330(a)(3) of the Bankruptcy Code, in

 evaluating the reasonableness of attorneys’ fees, Local Rule 2016-1(B)(1) (by reference to the

 Local Guidelines) requires that all professional fee applications analyze the twelve factors for

 allowance of compensation as set forth in Johnson v. Georgia Highway Express, 388 F.2d 714

 (5th Cir. 1974) (the “Johnson Factors”); see also P.A. Novelly v. Palans, 960 F.2d 728 (8th Cir.

 1992); Chamberlain v. Kula, 213 B.R. 729, 736–39 (B.A.P. 8th Cir. 1997).

        46.     Weil submits that this Application satisfies section 330 of the Bankruptcy Code

 Section 330 and the Johnson Factors, as outlined below:

                         a.      The Time and Labor Required.               Weil’s attorneys and
                paraprofessionals have expended 12,197.60 hours during the Final Compensation
                Period in the representation of the Debtors. All of the time spent was necessary
                and appropriate for the representation of the Debtors in these cases to ensure that
                the Debtors maximized the value of their estates to the benefit of the Debtors’
                creditors. This is especially true when considering the urgency of the tasks and
                issues that arose in these chapter 11 cases during the Final Compensation Period,
                including, among other things, drafting procedural and operational motions,
                finalizing the debtor-in-possession financing and the Sale Transaction, negotiating
                the treatment of creditors under the Plan with interested parties, and drafting the
                Disclosure Statement, the Plan, the Plan Supplement, the Confirmation Order, and
                other related documents to consummate the Plan. Weil submits that the hours spent
                were reasonable given the size and complexity of these cases, the significant and
                often urgent legal and business issues raised, and the numerous pleadings filed in
                these cases. All of the services performed were necessary to assist the Debtors in
                fulfilling their statutory duties and proceeding through these chapter 11 cases in an
                expeditious and efficient manner. Weil has additionally made every effort to avoid
                any unnecessary duplication of time or services.

                        b.      The Novelty and Difficulty of the Questions Involved. These
                chapter 11 cases involve a significant number of complex issues in the areas of
                restructuring, acquisitions, corporate finance, tax, insurance, and labor law. These
                cases are a large and complex restructuring, involving approximately $500 million


                                                 25
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                          Pg 28 of 32

                of outstanding debt-funded obligations as of the Petition Date, significant
                obligations to vendors and contract counterparties, the sale of substantially all of
                the Debtors’ assets to the Purchaser, and the confirmation of a plan of
                reorganization in the middle of a global pandemic. Weil’s effective advocacy and
                creative approach helped clarify and resolve a number of complex issues as
                described in this Application.

                        c.      The Skill to Perform the Professional Services Properly. Weil
                believes that its recognized expertise in the area of corporate reorganization, its
                ability to draw from highly experienced professionals in other areas of Weil’s
                practice, and its creative approach to the resolution of issues have contributed to
                the successful administration of these cases and benefitted the Debtors’ estates and
                creditors. Due to the nature and complexity of the legal issues presented in these
                chases, Weil was required to exhibit a high degree of legal skill in areas related to,
                among others, bankruptcy, litigation, tax, labor, insurance, acquisitions, and other
                corporate matters. Additionally, Weil’s strong working relationship with the legal
                and financial advisors retained on behalf of the various interested parties involved
                in these cases enabled Weil to work with such professionals towards consensual
                resolutions of many of the issues that have arisen thus far in these cases. Weil
                respectfully submits that its professionals have provided substantial benefits to the
                Debtors and their estates during the Final Compensation Period.

                       d.      The Preclusion of Other Employment by the Professional Due to
                Acceptance of the Case. Due to the size of Weil’s restructuring department, Weil’s
                representation of the Debtors did not preclude its acceptance of new clients.

                        e.     The Customary Fee. The rates charged by Weil attorneys,
                paraprofessional, and other-non legal staff in these chapter 11 cases are the same
                rates charged by Weil in connection with non-bankruptcy work. The professional
                fee sought herein are based upon Weil’s normal hourly rates for services of this
                kind. Weil respectfully submits that the professional fees sought herein are not
                unusual given the magnitude and complexity of these cases and time expended in
                representing the Debtors, and are commensurate with fee Weil has been awarded
                in other cases, as well with professional fees charged by other attorneys of
                comparable experience.

                        f.    Whether the Fee is Fixed or Contingent. Weil’s fees in these chapter
                11 cases are based upon the hourly billing rates of Weil’s attorneys and
                paraprofessionals. As in all bankruptcy cases, however, pursuant to sections 330
                and 331 of the Bankruptcy Code, fees for professionals employed under section
                327 of the Bankruptcy Code are subject to court approval and the availability of
                funds in the Debtors’ estates. In this limited sense, Weil’s fees are contingent in
                nature.

                       g.      Time Limitations Imposed by the Client or the Circumstances.
                Many of the matters Weil has handled for the Debtors have been on an expedited
                basis, including first day motions, approval of the Sale Transaction, and
                confirmation of the Plan. Weil guided the Debtors through all stages of these



                                                 26
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56             Main Document
                                          Pg 29 of 32

                chapter 11 cases with speed and efficiency and has helped to preserve the value of
                the Debtors’ assets and businesses.

                        h.     The Amount Involved and the Results Obtained. During the Final
                Compensation Period, Weil assisted the Debtors’ efforts to, among other things,
                finalize the Sale Transaction, arrange for the treatment of pensions and other
                employment obligations under the Sale Transaction, and obtain approval of a plan
                of reorganization. The end result, a consensual reorganization, is a significant and
                satisfying result given the complex issues that arose in these chapter 11 cases.
                Accordingly, Weil submits that the fees requested in this Application are reasonable
                and appropriate when considering the results obtained on behalf of the Debtors.

                        i.      The Experience, Reputation and Ability of the Professionals. Weil
                has an extensive, diversified experience and expertise, including Weil’s recognized
                expertise in the field of debtors’ protections, creditors’ rights, and the
                administration of cases under chapter 11 of the Bankruptcy Code. For example,
                Weil currently represents or has represented, among others, the following debtors
                and their affiliates: CBL & Associates Properties, Inc.; Fieldwood Energy LLC;
                Brooks Brothers Group, Inc.; Vivus, Inc.; NPC International, Inc.; Speedcast
                International Limited; EP Energy Corporation; Skillsoft Corporation; Chinos
                Holdings, Inc.; Chisholm Oil & Gas Operating, LLC; 24 Hour Fitness Worldwide,
                Inc.; Fairway Group Holdings Corp.; Gavilan Resources Holdings, Inc.; Exide
                Holdings, Inc.; Kingfisher Midstream LLC; Halcon Resources Corporation; Fusion
                Connect, Inc.; Insys Therapeutics, Inc.; CTI Foods, LLC; Ditech Holding
                Corporation; PG&E Corporation and Pacific Gas and Electric Company; Checkout
                Holding Corp.; Waypoint Leasing Holdings Ltd.; LBI Media, Inc.; Sears Holdings
                Corporation; Tops Holding Company LLC; Southeastern Grocers, LLC; Claire’s
                Inc.; Walter Inv. Mgmt. Corp.; Westinghouse Electric Company LLC; TK
                Holdings Inc.; Angelica Corp.; Azure Midstream Partners, LP; Memorial
                Production Partners LP; CHC Group Ltd.; Breitburn Energy Partners LP; Basic
                Energy Services, Inc.; American Gilsonite Company; and Aéropostale, Inc. Weil’s
                experience enabled it to perform the services described herein competently and
                expeditiously. In addition to its expertise in the area of restructuring, Weil called
                upon the expertise of its partners and associates in other practice areas to perform
                the wide ranging scope of legal work necessitated by these chapter 11 cases,
                including corporate, tax, labor, and litigation work.

                        j.     The Undesirability of the Case. Weil does not consider these cases
                to be undesirable.

                        k.     The Nature and Length of the Professional Relationship with the
                Client. Weil has acted as counsel to the Debtors since April 2020 and has rendered
                services continuously to the Debtors.

                       l.      Awards in Similar Cases. Weil submits that the fees and expenses
                for which it seeks compensation and reimbursement in this Application are not
                excessive and are commensurate with the rates awarded in similar cases in the
                United States Bankruptcy Court for similar services rendered and results obtained.



                                                 27
Case 20-43597       Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56           Main Document
                                             Pg 30 of 32

                 The fees requested by Weil are more fully described in Exhibits C and D attached
                 hereto and in the invoices attached hereto as Exhibits I, J, and K.

         47.     In the instant case, Weil submits that the services for which it seeks compensation

 and the expenditures for which it seeks reimbursement in this Application were necessary for and

 beneficial to the preservation and maximization of value for all stakeholders. The compensation

 requested herein is reasonable in light of the nature, extent, and value of such services to the

 Debtors, their estates, and all parties in interest.

         48.     In sum, the services rendered by Weil were necessary and beneficial to the Debtors’

 estates and were consistently performed in a timely manner commensurate with the types of issues

 involved in these chapter 11 cases. Accordingly, approval of the compensation for professional

 services and reimbursement of expenses sought in this Application is warranted.


                                                  Notice

         49.     Notice of this Application will be provided to (i) the Debtors (Attn: Kathryn Buono,

 Esq. (Buono.Kathryn@basco.com)), (ii) Halperin Battaglia Benzijia, LLP (Attn: Alan D. Halperin,

 Esq., Debra Cohen, Esq., and Julie Goldberg, Esq.) and Carmody MacDonald P.C. (Attn: Robert

 E. Eggman, Esq., Christopher J. Lawhorn, Esq., and Thomas H. Riske, Esq.), as counsel to the

 Plan Administrator; (iii) the Office of the United States Trustee for the Eastern District of Missouri

 (Attn: Sirena Wilson, Esq.); (iv) the holders of the thirty (30) largest unsecured claims against the

 Debtors on a consolidated basis; (v) Latham & Watkins LLP (Attn: Peter P. Knight, Esq. and

 Jonathan C. Gordon, Esq.), as counsel to JPMorgan Chase Bank, N.A., as the administrative agent

 and collateral agent under the ABL Credit Facility and DIP Facility; (vi) Pryor Cashman LLP

 (Attn: Seth H. Lieberman, Esq. and David W. Smith, Esq.), as counsel to Wilmington Trust, N.A.,

 as successor indenture trustee under the Unsecured Notes; (vii) the United States Attorney’s Office

 for the Eastern District of Missouri; (viii) Brown Rudnick LLP (Attn: Oksana P. Lashko, Esq.), as




                                                        28
Case 20-43597     Doc 1638      Filed 03/05/21 Entered 03/05/21 23:59:56         Main Document
                                          Pg 31 of 32

 counsel to the Creditors’ Committee; (ix) any other party that has requested notice pursuant to

 Bankruptcy Rule 2002; and (x) any other party entitled to notice pursuant to Local Rule 9013-

 3(E). Notice of this Application and any order entered hereon will be served in accordance with

 Local Rule 9013-3(E)(1).



                            [Remainder of page intentionally left blank]




                                                29
Case 20-43597      Doc 1638       Filed 03/05/21 Entered 03/05/21 23:59:56          Main Document
                                            Pg 32 of 32

                                              Conclusion

        50.     Weil respectfully requests that the Court (i) award interim allowance of Weil’s

 compensation for professional services rendered during the Second Interim Compensation Period

 in the amount of $2,690,368.77, consisting of $2,682,719.00 in fees and $7,649.77 in actual and

 necessary expenses, in all instances as incurred during the Second Interim Compensation Period,

 (ii) final allowance of Weil’s compensation for professional services rendered during the Final

 Compensation Period in the amount of $11,234,545.09, consisting of $11,220,438.50 in fees and

 $14,106.59 in actual an necessary expenses, in all instances as incurred during the Final

 Compensation Period, and that such allowance be without prejudice to Weil’s right to seek

 additional compensation for services performed and expenses incurred during the Final

 Compensation Period, which were not processed at the time of this Application, (iii) direct

 payment of the difference between the amounts allowed and any amounts previously paid, and

 (iv) grant such other and further relief as is just and proper.


 Dated: March 5, 2021
        New York, New York
                                              Respectfully Submitted,

                                                 /s/ Ronit J. Berkovich
                                                WEIL, GOTSHAL & MANGES LLP
                                                Ronit J. Berkovich (admitted pro hac vice)
                                                Debora A. Hoehne (admitted pro hac vice)
                                                Martha E. Martir (admitted pro hac vice)
                                                Eli Blechman (admitted pro hac vice)
                                                767 Fifth Avenue
                                                New York, New York 10153
                                                Telephone: (212) 310-8000
                                                Facsimile: (212) 310-8007
                                                Email: Ronit.Berkovich@weil.com
                                                        Debora.Hoehne@weil.com
                                                        Martha.Martir@weil.com
                                                        Eli.Blechman@weil.com

                                                Counsel to the Debtors
                                                and Debtors in Possession



                                                   30
